1. The oral motion to dismiss the action, the only specific prayer in the petition being one to void a release, was properly sustained; the petition disclosing that complainants are the holders of a judgment and fi. fa. against Mrs. Clay, the defendant; that the fi. fa. has been levied upon personal property which petitioners contend is Mrs. Clay's subject to levy and sale thereunder, and which complainants believe is of sufficient value to satisfy the execution in full; it being further averred that no claims have been filed to the property so levied upon, but that Mrs. Clay "contends that she is not the owner of said property, and that much of it will be claimed by other persons, and will not be sold to satisfy your petitioners' executions; the said Mrs. Clay being indefinite and not specific as to just what property so levied on is not hers, and as to which claims will be filed." And as relating to the question of solvency or insolvency the petition contains this further statement: "As long as said levy stands and the property levied on is not claimed, an additional levy on real estate at this time might be excessive; . . outside of the personal property levied on as hereinabove set out and of the real estate described in said release and still owned by said Mrs. Clay, the said Mrs. Clay has no visible property out of which said judgment and execution can be collected;" the release here involved purporting to release as to certain specified real estate the lien of a judgment and an execution issued thereon; the ground of attack being based solely on the allegation that the release was executed without any valid consideration therefor.
     No. 13982. FEBRUARY 13, 1942. REHEARING DENIED MARCH 17, 1942.
J. C. and W. T. Hendley excepted to the sustaining of an oral motion to dismiss their petition to void a release given by them to the defendant, Mrs. Agnes Clay, of certain real estate from the lien of a judgment and execution held by them against the defendant. In previous litigation a judgment was obtained by another plaintiff against Mrs. Clay, and against the plaintiffs as sureties on her bond. Mrs. Clay not paying any of the judgment on which execution had been issued, and she not having any visible property upon which the execution could be levied, the Hendleys, in order to protect their said property, paid the full amount due on the judgment and received a transfer of the execution to them. Upon a recited consideration of one dollar the Hendleys as parties of the first part, and Mrs. Agnes Clay and R. V. Mathews and D. L. Ross, parties of the second part, entered into an agreement whereby the Hendleys released certain real estate from the lien of said execution and authorized *Page 660 
Mrs. Clay to sell or assign in any way, by warranty deed or otherwise, the property so released. Two of the lots so released were by Mrs. Clay sold to Mathews and Ross. There remaining unsold another portion of the real estate so released, the Hendleys filed their petition to void the said release as to such other real estate, alleging that no consideration whatever was paid for said release, and that the true and only consideration, though not so recited in the agreement, was the promise of Mrs. Clay to pay to petitioners at the rate of $12.50 per month the full amount due on the judgment and execution. This suit was dismissed on oral demurrer based on the ground that the petition set out no cause of action.
Besides the one for process and for general relief, the only prayers were that the release be declared void and of no effect, and that the clerk be directed to enter on the page where the release is recorded a notation that it is void as to the real estate therein described, which is still owned by defendant. If for any reason the plaintiffs in error were entitled to maintain the petition for the purpose of having the release canceled, it was erroneous to sustain the motion to dismiss the action.
Equity is not a knight-errant that goes hither and thither for the purpose of righting every wrong. A large, indeed the larger number of these can be redressed in a court of law; and when this is the case, equity steps aside, since its aid is reserved for those for whom no full, complete, and adequate relief can be obtained in a court of law. Code, § 37-120.
The petition discloses that the complainants are the holders of a judgment and fi. fa. against Mrs. Clay. It is not alleged that she is insolvent. On the contrary it is averred that the fi. fa. has been levied on personal property which petitioners contend is her property subject to levy and sale thereunder, which is believed to be of sufficient value to satisfy said execution in full. It is further averred that no claim has been filed to the property so levied upon, but that Mrs. Clay "contends that she is not the owner of said property, and that much of it will be claimed by other persons, and will not be sold to satisfy your petitioners' executions, the said *Page 661 
Mrs. Clay being indefinite and not specific as to just what property so levied on is not hers and as to which claims will be filed." As relating to the question of solvency or insolvency the petition contains this further statement: "As long as said levy stands and the property levied on is not claimed, an additional levy on real estate at this time might be excessive. . . Your petitioners show that outside of the personal property levied on as hereinabove set out, and of the real estate described in said release and still owned by said Mrs. Clay, the said Mrs. Clay has no visible property out of which said judgment and execution can be collected."
Petitioners may, if they wish, test out their contention that the property already levied on is subject to their execution and sufficient in value to satisfy it. In any view of the case they do not show such injury as will justify equitable relief.
What rights, if any, the plaintiffs may have as against the land is not now for decision by this court. What is held is merely that the action was properly dismissed.
Judgment affirmed. All the Justices concur.
ATKINSON, P. J., concurs in the result.